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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    LVI INTERMEDIATE HOLDINGS, INC., et                           Case No. 20-11413 (KBO)
    al.,
                                                                  (Jointly Administered)
                            Debtors.1
                                                                  Re: D.I. 57 and 154



ORDER APPROVING DEBTORS’ MOTION FOR ENTRY OF AN ORDER PURSUANT
  TO SECTION 363 OF THE BANKRUPTCY CODE AUTHORIZING DEBTORS TO
  PAY THE FEES AND EXPENSES OF SAUL EWING ARNSTEIN & LEHR LLP AS
COUNSEL TO MEMBERS OF THE DEBTORS’ BOARD OF DIRECTORS/MANAGERS

             Upon the motion (the “Motion”)2 of the Debtors for entry of an order authorizing the

Debtors to pay the fees and expenses of Saul Ewing Arnstein & Lehr LLP (“Saul Ewing”) as

counsel to the Board of Directors, pursuant to section 363 of title 11 of the United States Code (the

“Bankruptcy Code”), pursuant to the terms set forth in the Motion; and upon consideration of the

Declaration of Jeffrey C. Hampton in Support of Debtors’ Motion for the Entry of an Order

Pursuant to Section 363 of the Bankruptcy Code Authorizing Debtors to Pay the Fees and

Expenses of Saul Ewing Arnstein & Lehr as Counsel to the Debtors’ Board of Directors/Managers

(the “Hampton Declaration”); and it appearing that this Court has jurisdiction to consider the



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   The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: LVI
Intermediate Holdings, Inc., (7674); Total Vision Institute, LLC (7571); QualSight, LLC (3866); The LASIK Vision
Institute, LLC (7564); Cataract Vision Institute, LLC (7697); Healthcare Marketing Services, LLC (9982); Cataract
Vision Institute Florida, LLC (3423); TLC Vision Center Holdings, LLC (5400); TLC Whitten Laser Eye Associates,
LLC (0182); TLC Vision Centers, LLC (8271); TruVision, LLC (3399); TruVision Contacts, LLC (3399); Laser Eye
Surgery, LLC (3448); TLC Laser Eye Centers (Refractive I), LLC (2702); TLC The Laser Center (Pittsburgh) L.L.C.
(2881); TLC The Laser Center (Indiana) LLC (8456); TLC The Laser Center (Institute), LLC (0959); and LVI
Missouri, LLC (7088);. The Debtors’ executive headquarters are located at 1555 Palm Beach Lakes Blvd., Suite 600,
West Palm Beach, Florida 33401.

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   Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Interim Order
or, if not defined therein, in the Motion.



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Motion pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28

U.S.C. §§ 1408 and 1409 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012; and due and sufficient notice

of the Motion having been provided under the particular circumstances, and it appearing that no

other or further notice need be provided; and this Court having determined that the legal and factual

bases set forth in the Motion establish just cause for the relief granted herein; and the Court having

found and determined that the relief sought in the Motion is in the best interests of the Debtors,

their estates and creditors, and that the legal and factual bases set forth in the Motion establish just

cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor, it is

ORDERED, ADJUDGED, AND DECREED that:

         1.       The Motion is GRANTED is GRANTED as set forth herein.

         2.       The Debtors are authorized to pay compensation and expenses to Saul Ewing in

accordance with the following Payment Procedures, subject to the DIP budget and applicable

financing orders entered by this Court:

              (a) Saul Ewing shall submit monthly invoices (the “Monthly Invoices”) to the Board
                  of Directors, with copies of the Monthly Invoices submitted reasonably
                  contemporaneously therewith to: (a) the Debtors; (b) proposed counsel for the
                  Debtors; (c) The Office of the United States Trustee for the District of Delaware;
                  (d) counsel to any official committee; and (e) counsel to the Debtors’ prepetition
                  and postpetition lenders (collectively, the “Notice Parties” and each, a “Notice
                  Party”).

              (b) Each Notice Party shall have fifteen (15) days after the receipt of a Monthly Invoice
                  to review it and, if such Notice Party has an objection to the fees and expenses
                  sought in a particular Monthly Invoice (an “Objection”), such party, shall by no
                  later than fifteen (15) days following the receipt of the particular Monthly Invoice
                  (the “Objection Deadline”), serve upon Saul Ewing and the Notice Parties a written
                  notice (the “Notice of Objection to Invoice”), setting forth with specificity the
                  nature of the Objection and the amount of fees or expenses at issue.



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              (c) If no Notice of Objection to Invoice has been timely served upon Saul Ewing and
                  the Notice Parties by the expiration of the Objection Deadline, or if Saul Ewing and
                  the objecting Notice Party thereafter consensually resolve any such Objection, the
                  Debtors shall promptly pay, in full, the fees and expenses identified in the Monthly
                  Invoice

              (d) If a Notice of Objection to Invoice has been timely served upon Saul Ewing and
                  the Notice Parties, the Debtors shall withhold payment of that portion of the
                  Monthly Invoice to which the Objection is directed and promptly pay the remainder
                  of the fees and expenses to Saul Ewing.

              (e) If a Notice of Objection to Invoice is served upon Saul Ewing and the Notice
                  Parties, Saul Ewing and the objecting party will work in good faith to resolve their
                  dispute without resort to the Court

              (f) Any Objections that are not resolved by the parties shall be preserved and presented
                  to the Court at the next available Omnibus Hearing Date.

         3.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

         4.       The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         5.       This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, or enforcement of this Order.




    Dated: June 23rd, 2020                                KAREN B. OWENS
    Wilmington, Delaware                                  UNITED STATES BANKRUPTCY JUDGE

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